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                                                                                   Form 1
                                                                                                                                                                                           Page: 1-1
                                                               Individual Estate Property Record and Report
                                                                                Asset Cases
Case No.:    20-03082                                                                                                       Trustee Name:        (291100) Gordon P. Jones
Case Name:      SAINT JOHNS PROPERTIES, LLC                                                                                 Date Filed (f) or Converted (c): 10/20/2020 (f)
                                                                                                                            § 341(a) Meeting Date:       01/05/2021
For Period Ending:    03/31/2022                                                                                            Claims Bar Date: 12/29/2020

                                                1                                   2                              3                            4                      5                          6

                                        Asset Description                        Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                             (Scheduled And Unscheduled (u) Property)          Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                  Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                     and Other Costs)                                                             Remaining Assets

    1       AP HOLDINGS FLORIDA LAWSUIT (u)                                                    0.00                              0.00                                              0.00                        FA

    2       BLUENJ, LLC LAWSUIT (u)                                                            0.00                              0.00                                              0.00                        FA

    3       EBF PARTNERS, LLC LAWSUIT (u)                                                      0.00                              0.00                                              0.00                        FA

    4       ESLY GONZALEZ-NUNEZ AND JASON CRUZ LAWSUIT (u)                                     0.00                              0.00                                              0.00                        FA

    5       JAX TOWN INVESTMENTS LLC LAWSUIT (u)                                               0.00                              0.00                                              0.00                        FA

    6       JACOB A SEAMONS LAWSUIT (u)                                                        0.00                              0.00                                              0.00                        FA

    7       TIMOTHY SMALLWOOD, MARY ANNE VALERIO (u)                                    Unknown                                  0.00                                              0.00                        FA
            SMALLWOOD AND MTRRE PROPERTIES, LLC LAWSUIT

    8       WELLS FARGO CHECKING                                                             132.45                              0.00                                              0.00                        FA

    9       WELLS FARGO CHECKING                                                         (298.88)                                0.00                                              0.00                        FA

    10      OFFICE FURNITURE                                                                 200.00                              0.00                                              0.00                        FA

    11      OFFICE EQUIPMENT                                                                 200.00                              0.00                                              0.00                        FA

    12      INTERESTS IN INSURANCE POLICIES                                         1,000,000.00                          815,469.33                                       815,469.33                          FA

    13      CAUSES OF ACTION AGAINST THIRD PARTIES                                      69,504.53                                0.00                                              0.00                        FA

    14      CLAIM VS. KEITH D. LENGER (u)                                               Unknown                            18,500.00                                        18,500.00                          FA
            CASE # 21-00499 - CLAIM #7-1 UNKNOWN AMOUNT

    15      FRAUDULANT CONVAYANCE (05/14/2021 N) (u)                                    Unknown                             6,000.00                                         6,000.00                          FA

    16      LEGAL MALPRACTICE CLAIM (u)                                                 Unknown                         1,000,000.00                                               0.00           1,000,000.00

   16       Assets           Totals       (Excluding unknown values)               $1,069,738.10                       $1,839,969.33                                    $839,969.33             $1,000,000.00
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                                                                        Form 1
                                                                                                                                                           Page: 1-2
                                                    Individual Estate Property Record and Report
                                                                     Asset Cases
Case No.:    20-03082                                                                                    Trustee Name:      (291100) Gordon P. Jones
Case Name:     SAINT JOHNS PROPERTIES, LLC                                                               Date Filed (f) or Converted (c): 10/20/2020 (f)
                                                                                                         § 341(a) Meeting Date:   01/05/2021
For Period Ending:   03/31/2022                                                                          Claims Bar Date: 12/29/2020


      Major Activities Affecting Case Closing:
                                  ESTATE PROFESSIONALS:
                                    Attorney: ORDER EMPLOYING JACOB BROWN NUNC PRO TUNC TO DECEMBER 5, 2020 FILED 12/09/20 (DOCKET #24).
                                    Special Attorney: ORDER EMPLOYING W. BRAXTON GILLAM FILED 1/11/21 (DOCKET #32).
                                    Accountant: ORDER EMPLOYING STEVEN VANDERWILT 06/29/2021 (DOCKET #61)
                                    Auctioneer:
                                    TPP Appraiser:
                                    Real Estate Agent:

                                  ACTIONS:
                                    2004 Exam:
                                    Objection to Exemptions:
                                    Motion for Turnover:
                                    Motion Determine Conseq Value:
                                    Compromise 1: ORDER APPROVING COMPROMISE FILED 06/24/2021 (DOCKET #57)
                                    Personal property:
                                    Real Estate:
                                    Auction:
                                    Tax Refund:
                                    Personal Injury/Lawsuit:
                                    Prepare Tax Return:
                                    Abandonment:
                                    Claims:
                                    Objection to Discharge:
                                    Adversary filed: FILED 02/24/2022 (ADV. 22-12); AMENDED MOTION TO DISMISS FILED BY DEFENDENT 03/30/2022 (DOCKET #7)
                                    State Court Lawsuit:

                                  CASE STATUS:

                                  ORDER APPROVING THAMES COMPENSATION FILED 03/11/21 (DOCKET #45).
                                  HEARING ON MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT WITH KEITH LENGER FILED 08/16/2021 (DOCKET #67)
                                  TELEPHONE AUCTION OF NOTE HELD ON JAN 13TH SUCCESSFUL BIDDER PALUMBO. BREAKUP FEE DUE OF $500.00
                                  NOTICE OF PAYING BREAK-UP FEE FILED 02/11/2022 (DOCKET #111); ESTATE CHECK 101 IN THE AMOUNT OF $500.00
                                  MEDIATION PAYMENT IN THE AMOUNT OF $1,237.50 MAILED TO WATSON WHITE & MAX; ESTATE CHECK #103 02/23/2022
                                  CLOSING STATUS:
                                   TFR:
                                    NFR served:
                                    Order Allowing Administrative Expenses:
                                    TDR:
                                                      Case 3:20-bk-03082-JAF   Doc 124   Filed 04/18/22         Page 3 of 5

                                                                            Form 1
                                                                                                                                                                 Page: 1-3
                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case No.:    20-03082                                                                                    Trustee Name:      (291100) Gordon P. Jones
Case Name:     SAINT JOHNS PROPERTIES, LLC                                                               Date Filed (f) or Converted (c): 10/20/2020 (f)
                                                                                                         § 341(a) Meeting Date:   01/05/2021
For Period Ending:     03/31/2022                                                                        Claims Bar Date: 12/29/2020

                                    DATE OF LAST REVIEW OF CASE: 03/31/2022


      Initial Projected Date Of Final Report (TFR):         07/01/2022                   Current Projected Date Of Final Report (TFR):              07/01/2022


             04/18/2022                                                                   /s/Gordon P. Jones

                Date                                                                      Gordon P. Jones
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                                                                                        Form 2
                                                                                                                                                                                                       Page: 2-1
                                                                        Cash Receipts And Disbursements Record
Case No.:                       20-03082                                                                        Trustee Name:                    Gordon P. Jones (291100)
Case Name:                      SAINT JOHNS PROPERTIES, LLC                                                     Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:                  **-***3326                                                                      Account #:                       ******1489 Checking
For Period Ending:              03/31/2022                                                                      Blanket Bond (per case limit):   $33,348,000.00
                                                                                                                Separate Bond (if applicable):   N/A

    1            2                                 3                                                             4                                           5                       6                      7

  Trans.    Check or                    Paid To / Received From                              Description of Transaction                   Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                                      Tran. Code          $                        $

 06/28/21                Heather Beard and Charles A Beard                FRAUDULANT CONVAYANCE (05/14/2021 N)                           1241-000                  6,000.00                                     6,000.00
              {15}                                                        Acct #; Payment #1                                             1241-000
                                                                                                                             $6,000.00
 09/30/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                            9.29               5,990.71
 10/29/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                            9.28               5,981.43
 11/03/21     {12}       Akerman LLP                                      Interests in Insurance                                         1129-000             815,469.33                                     821,450.76
 11/30/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                        1,142.94            820,307.82
 12/31/21                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                        1,358.56            818,949.26
 01/31/22                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                        1,268.80            817,680.46
 02/08/22     {14}       Equity Trust Company                             Claim Sale Proceeds                                            1229-000                 18,500.00                                  836,180.46
 02/09/22     101        Partnership Liquidity Investors V LLC            Paymnet of Break-up Fee per Docket #103                        8500-002                                          500.00            835,680.46
 02/17/22     102        INTERNATIONAL SURETIES, LTD.                     Payment of Pro-rated Bond 2/1/22 to 2/1/23; ACCOUNT #          2300-000                                          430.91            835,249.55
                                                                          1OOO-9OO-I944
 02/23/22     103        Upchurch Watson White & Max                      Mediation Payment; W. Braxton Gillam; Invoice # 22RAC-024      3992-000                                        1,237.50            834,012.05
 02/28/22                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                        1,241.01            832,771.04
 03/31/22                Metropolitan Commercial Bank                     Bank and Technology Services Fees                              2600-000                                          600.00            832,171.04

                                                                             COLUMN TOTALS                                                                     839,969.33                 7,798.29          $832,171.04
                                                                                     Less: Bank Transfers/CDs                                                          0.00                    0.00
                                                                             Subtotal                                                                          839,969.33                 7,798.29
                                                                                     Less: Payments to Debtors                                                                                 0.00

                                                                             NET Receipts / Disbursements                                                    $839,969.33                 $7,798.29




{ } Asset Reference(s)                                                                                                                                                        ! - transaction has not been cleared
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                                                                            Form 2
                                                                                                                                                             Page: 2-2
                                                            Cash Receipts And Disbursements Record
Case No.:                  20-03082                                                     Trustee Name:                 Gordon P. Jones (291100)
Case Name:                 SAINT JOHNS PROPERTIES, LLC                                  Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:             **-***3326                                                   Account #:                    ******1489 Checking
For Period Ending:         03/31/2022                                                   Blanket Bond (per case limit): $33,348,000.00
                                                                                        Separate Bond (if applicable): N/A


                                        Net Receipts:              $839,969.33
                           Plus Gross Adjustments:                       $0.00
                         Less Payments to Debtor:                        $0.00
                 Less Other Noncompensable Items:                     $500.00

                                          Net Estate:              $839,469.33




                                                                     TOTAL - ALL ACCOUNTS                   NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                     ******1489 Checking                          $839,969.33             $7,798.29     $832,171.04

                                                                                                                    $839,969.33                  $7,798.29    $832,171.04
